              Case 1:19-cr-20603-MGC Document 5 Entered on FLSD Docket 09/18/2019 Page 1 of 1
                                              COURT M INUTES                                                   X Pages
                                  M agistrate Judge Chris M .M cAliley
               AtkinsBuildingCourthouse-6thFloor              Date:9/18/19                             Time:10:00a.m.
Defendant:Abdul-M ajeed Ahmed Alani J#:18349-104 Case#:19-3419-O'SuIlivan
            $'             *
AUSA:m       -u              4                Attorney: Afpd - 8 r                 - .                 x
Violation: W iIf Iy Dam aging,Destroying,etc.,an Aircraftin Jurisdiction ofUS, etc.
Proceeding: Detention Hearing                                    CJA Appt:
Bon           TD Held: Yes C No            Recom m ended Bond:
BondSetat:Stip.Ptdw/Right/Revisit                                Co-signed by:
 Nr surrenderand/ordonotobtainpassports/traveldocs                       Language: Arabic
 C' ReporttoPTSas directed/or                    x'saweek/monthby        Disposition:
          phone:           x'saweek/monthinperson                         p/A ojgojjg        .


          Random urine testing by PretrialServices                                       .

          Treatmentasdeemed necessary                                                                          Y
 r- Refrainfromexcessiveuseofalcohol                                     R t.w
                                                                             x%                        *           .
 f- Participate in mentalhealth assessment& treatm ent
                                                                                                               - edx           .
 C Maintainorseekfull-timeemployment/education                                                             O           N

 r- Nocontactwithvictims/witnesses                                                2 -             -%                       .
 1
 - No firearms                                                            -         e

 C        Notto encumberproperty
 r- M aynotvisittransportation establishments

 1- HomeConfinement/ElectronicMonitoringand/or                           C                                     *
          Curfew             pm to          am ,paid by                                                        n
          Allowances:M edicalneeds,courtappearances,attorney visits,          *
          religious,em ploym ent
                                                                                                                   *
 r Travelextended to:
 Nr other:                                                                fromSpeedyTrialclock
NEXT COURT APPEARANCE Date:                    Tim e:          Judge:                             Place:
ReportRE Counsel:
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
StatusConference RE:

D.
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